
39 So. 3d 360 (2010)
Ramon M. SANCHEZ, Appellant,
v.
STATE of Florida, Appellee.
No. 1D09-5166.
District Court of Appeal of Florida, First District.
June 10, 2010.
Rehearing Denied July 20, 2010.
Nancy A. Daniels, Public Defender, Glen P. Gifford, Assistant Public Defender, Tallahassee, for Appellant.
Bill McCollum, Attorney General, Thomas H. Duffy, Assistant Attorney General, Tallahassee, for Appellee.
PER CURIAM.
AFFIRMED. See Reeves v. State, 957 So. 2d 625, 628 (Fla.2007) (holding trial court has discretion to impose Criminal Punishment Code sentence consecutive to Prison Releasee Reoffender sentence); see also Boyd v. State, 988 So. 2d 1242, 1244 (Fla. 2d DCA 2008) (holding trial court correctly reclassified Prison Releasee Reoffender designation on one count to Criminal Punishment Code to prevent improper consecutive PRR sentences).
PADOVANO, THOMAS, and CLARK, JJ., concur.
